    Case 07-11753        Doc 308-1 Filed 02/13/19              Entered 02/13/19 14:20:28      Desc
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

                                                           )
In re:                                                     )
                                                           )      Chapter 7
WILLIAM D. KWIATEK,                                        )      Case No. 07-11753-WCH
                                                           )
                         Debtor.                           )
                                                           )

                                    CERTIFICATE OF SERVICE

         I, Kathleen R. Cruickshank, hereby certify that on February 13, 2019, I caused a copy of the

Joint Motion by Chapter 7 Trustee and Excalibur, LLC to Continue February 26, 2019 Status

Conference to be served via this Court’s CM/ECF system and/or first class mail, postage prepaid,

on the parties listed on the attached service list.


                                                      /s/ Kathleen R. Cruickshank
                                                      Kathleen R. Cruickshank (BBO #550675)
                                                      MURPHY & KING, P.C.
                                                      One Beacon Street
                                                      Boston, MA 02110
                                                      Tel: (617) 423-0400
                                                      Fax: (617) 423-0498
Dated: February 13, 2019                              Email: kcruickshank@murphyking.com




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WILLIAM D. KWIATEK
Case No. 07-11753-MSH
CM/ECF SERVICE LIST

VIA CM/ECF

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